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UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF NEW YORK

    In re:                                                   Chapter 11

    THE GREAT ATLANTIC & PACIFIC TEA                         Case No. 15-23007-rdd
    COMPANY, INC., et al.,1
                                                             Jointly Administered
                      Debtors.
    THE GREAT ATLANTIC & PACIFIC TEA                         Adv. Pro. No. 18-8245-rdd
    COMPANY, INC., et al.,
                      Plaintiff,

             - against -

    PEPSICO, INC.; BOTTLING GROUP, LLC
    (d/b/a Pepsi Beverages Company and f/d/b/a
    The Pepsi Bottling Group); FRITO-LAY
    NORTH AMERICA, INC.; PEPSI-COLA
    METROPOLITAN BOTTLING COMPANY,
    INC.; PEPSI-COLA HASBROUCK
    HEIGHTS; PEPSI-COLA BOTTLING
    COMPANY; QUAKER SALES AND
    DISTRIBUTION, INC.; MULLER QUAKER
    DAIRY, LLC; STACY’S PITA CHIP
    COMPANY, INC.; PEPSI BOTTLING
    GROUP, NJ; and PEPSI USA,
                         Defendants.

                                    NOTICE OF ADJOURNMENT

             PLEASE TAKE NOTICE that on consent of the parties to this adversary proceeding, the

initial pretrial conference originally scheduled for July 17, 2018 at 10:00 a.m. has been adjourned

to September 13, 2018 at 10:00 a.m.




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 The Debtors are: 2008 Broadway, Inc.; The Great Atlantic & Pacific Tea Company, Inc.; A&P Live Better, LLC;
A&P Real Property, LLC; APW Supermarket Corporation; APW Supermarkets, Inc.; Borman’s, Inc.; Delaware
County Dairies, Inc.; Food Basics, Inc.; Kwik Save Inc.; McLean Avenue Plaza Corp.; Montvale Holdings, Inc.;
Montvale-Para Holdings, Inc.; Onpoint, Inc.; Pathmark Stores, Inc.; Plainbridge LLC; Shopwell, Inc.; Super Fresh
Food Markets, Inc.; The Old Wine Emporium of Westport, Inc.; Tradewell Foods of Conn., Inc.; and Waldbaum, Inc.
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 Dated: June 19, 2018                           /s/ Jeffrey Chubak
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                                                - and -

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